                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                                No. CR22-4073-LTS

 vs.
                                                     ORDER ON REPORT AND
 BOBBY RHODEN,                                        RECOMMENDATION

               Defendant.



                                  I.   INTRODUCTION
        This matter is before me on a Report and Recommendation (R&R) in which the
Honorable Kelly K.E. Mahoney, Chief United States Magistrate Judge, recommends that
I deny defendant’s motion (Doc. 47) to dismiss Count 1 of the indictment, which charges
him with kidnapping in violation of the Federal Kidnapping Act, 18 U.S.C. § 1201(a)(1).
See Doc. 55. Rhoden has filed objections (Doc. 61) and the Government has filed a
resistance (Doc. 62).


                            II.   APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s R&R under the following
standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and recommendations
        as provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed findings
        or recommendations to which objection is made. A judge of the court may
        accept, reject, or modify, in whole or in part, the findings or
        recommendations made by the magistrate judge. The judge may also
        receive further evidence or recommit the matter to the magistrate judge with
        instructions.




       Case 5:22-cr-04073-LTS-KEM      Document 63      Filed 02/06/23    Page 1 of 4
28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.    DISCUSSION
       Rhoden argues Count 1 should be dismissed because the Federal Kidnapping Act,
as amended, is facially unconstitutional. Doc. 47-1 at 5. Rhoden is charged under 18
U.S.C. § 1201(a)(1) which makes it a crime for a person who:
       unlawfully seizes, confines, inveigles, decoys, kidnaps, abducts, or carries
       away and holds for ransom or reward or otherwise any person . . . when .
       . . the offender . . . uses . . . any means, facility, or instrumentality of
       interstate or foreign commerce in committing or in furtherance of the
       commission of the offense.

Judge Mahoney observed that every court to address this issue has upheld the
constitutionality of the Federal Kidnapping Act. Doc. 55 at 2 (citing cases). These courts

                                             2

    Case 5:22-cr-04073-LTS-KEM           Document 63     Filed 02/06/23    Page 2 of 4
have relied on United States v. Lopez, 514 U.S. 549, 558 (1995), in which the Court
identified one of the categories of activity that Congress may regulate under its commerce
power as “the instrumentalities of interstate commerce, or persons or things in interstate
commerce, even though the threat may come only from intrastate activities.”            She
recommends denying Rhoden’s motion to dismiss Count 1.
       Rhoden’s argument is based on Justice Thomas’ dissent in Taylor v. United States,
579 U.S. 301 (2016), in which he concluded that Congress may “punish robbery only to
the extent that doing so is ‘necessary and proper for carrying into Execution’ Congress’
power to regulate commerce.”         Id. at 312-13 (Thomas, J., dissenting).       To be
“necessary,” the “robbery prohibition must have an obvious, simple, and direct relation
with the regulation of interstate commerce,” and to be “proper,” “it cannot be prohibited
by the Constitution or inconsistent with its letter and spirit.” Id. Justice Thomas took
the position that “if the Government cannot prove that a robbery in a State affected
interstate commerce, then the robbery is not punishable under the Hobbs Act,” and that
“[s]weeping in robberies that do not affect interstate commerce comes too close to
conferring on Congress a general police power over the Nation.” Id. at 316. Rhoden
argues that the same logic applies to wholly intrastate kidnappings and that the
involvement of an automobile in the kidnapping, as alleged in the indictment, does not
alter the intrastate nature of the kidnapping.
       As Judge Mahoney observed in the R&R, however, “the opinions of one justice
are not binding on this court” and every court to address this issue has upheld the
constitutionality of the amended Federal Kidnapping Act as a valid exercise of Congress’
power under the Commerce Clause. Doc. 55 at 2. Rhoden points out that neither the
Supreme Court nor the Eighth Circuit Court of Appeals has addressed the specific issue
he raises. Nonetheless, based on my de novo review, and for the reasons stated by Judge
Mahoney, I conclude that the amended Federal Kidnapping Act is not facially
unconstitutional as exceeding Congress’ power under the Commerce Clause.


                                             3

    Case 5:22-cr-04073-LTS-KEM          Document 63    Filed 02/06/23    Page 3 of 4
                                IV.       CONCLUSION
      For the reasons set forth herein:
      1.     Rhoden’s objections (Doc. 61) to the R&R (Doc. 55) are overruled;
      2.     I accept the R&R (Doc. 55) without modification, see 28 U.S.C. §
636(b)(1);
      3.     Pursuant to Judge Mahoney’s recommendation, Rhoden’s motion (Doc. 47)
to dismiss Count 1 of the indictment is denied.



      IT IS SO ORDERED.
      DATED this 6th day of February, 2023.




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                                          Leonard T. Strand, Chief Judge




                                            4

    Case 5:22-cr-04073-LTS-KEM        Document 63      Filed 02/06/23   Page 4 of 4
